  Case 4:17-cv-00868-O Document 157 Filed 07/27/18                Page 1 of 1 PageID 3763


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 CHAD EVERETT BRACKEEN, et al.,                 §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             §   Civil Action No. 4:17-cv-00868-O
                                                §
 RYAN ZINKE, et al.,                            §
                                                §
        Defendants,                             §
                                                §
 CHEROKEE NATION, et al.,                       §
                                                §
        Intervenor-Defendants.                  §


                                            ORDER

       The Court resets Plaintiffs’ Motions for Summary Judgment (ECF Nos. 72, 79) for hearing

at 2:00 p.m. on Wednesday, August 1, 2018. Counsel for Plaintiffs and Defendants are

ORDERED to attend and to be prepared to address all issues relating to the Plaintiffs’ motion for

summary judgment briefing in this case. The hearing will convene in the United States District

Judge’s Second Floor Courtroom, 501 West 10th Street, Fort Worth, Texas.

       SO ORDERED on this 27th day of July, 2018.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




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